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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


CHRISTINE CADY                              )
                                            )
             Plaintiff,                     )
                                            )
       vs.                                  )      No. 4:12-CV-186 (CEJ)
                                            )
DVA RENAL HEALTHCARE INC.,                  )
                                            )
                                            )
             Defendant.                     )


                                        ORDER

      IT IS HEREBY ORDERED that the Clerk of Court shall make an entry in the

docket record reflecting the dismissal of this action without prejudice, in accordance

with the parties' stipulation of dismissal pursuant to Fed.R. Civ. P.41(a)(1)(A)(ii).

      The parties shall bear their own costs.




                                                _________________________
                                                CAROL E. JACKSON
                                                UNITED STATES DISTRICT JUDGE




Dated this 22nd day of March, 2012.
